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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


 FAYETTEVILLE PUBLIC LIBRARY, a political subdivision
 in the City of Fayetteville, State of Arkansas;
 EUREKA SPRINGS CARNEGIE PUBLIC LIBRARY;
 CENTRAL ARKANSAS LIBRARY SYSTEM;
 NATE COULTER; OLIVIA FARRELL; JENNIE KIRBY,
 as parent and next friend of HAYDEN KIRBY;
 LETA CAPLINGER; ADAM WEBB;
 ARKANSAS LIBRARY ASSOCIATION;
 ADVOCATES FOR ALL ARKANSAS LIBRARIES;
 PEARL’S BOOKS, LLC; WORDSWORTH COMMUNITY
 BOOKSTORE, LLC d/b/a WORDSWORTH BOOKS;
 AMERICAN BOOKSELLERS ASSOCIATION;
 ASSOCIATION OF AMERICAN PUBLISHERS, INC.;
 AUTHORS GUILD, INC.; COMIC BOOK LEGAL DEFENSE FUND;
 and FREEDOM TO READ FOUNDATION                                                PLAINTIFFS

 V.                             CASE NO. 5:23-CV-05086

 CRAWFORD COUNTY, ARKANSAS; CHRIS KEITH,
 in his official capacity as Crawford County Judge;
 TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;
 MATT DURRETT; JEFF PHILLIPS; WILL JONES;
 TERESA HOWELL; BEN HALE, CONNIE MITCHELL,
 DAN TURNER, JANA BRADFORD; FRANK SPAIN;
 TIM BLAIR; KYLE HUNTER; DANIEL SHUE; JEFF ROGERS;
 DAVID ETHREDGE; TOM TATUM, II; DREW SMITH;
 REBECCA REED MCCOY; MICHELLE C. LAWRENCE;
 DEBRA BUSCHMAN; TONY ROGERS; NATHAN SMITH;
 CAROL CREWS; KEVIN HOLMES; CHRIS WALTON;
 and CHUCK GRAHAM, each in his or her official capacity
 as a prosecuting attorney for the State of Arkansas                         DEFENDANTS


                                     AMENDED
                              CASE MANAGEMENT ORDER


        This Order amends the Case Management Order dated December 1, 2023 (Doc.

 71) The trial date is reset to the back-up trial term of December 16, 2024, and revised case
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 management deadlines (that have not already expired) are set forth below. In this regard,

 IT IS HEREBY ORDERED:

 1.     TRIAL SET DURING THE COURT’S DECEMBER 16, 2024 TRIAL TERM

        The trial of this matter is scheduled for a BENCH TRIAL in FAYETTEVILLE,

 ARKANSAS, at the call of the Court during a One Week Trial Term which begins on

 DECEMBER 16, 2024, at 9:00 a.m. The parties have indicated that the case will take

 three (3) days to try.

 2.     FINAL PRE-TRIAL CONFERENCE

        A Final Pre-Trial Conference shall be conducted pursuant to the provisions of Rule

 16(e) on DECEMBER 6, 2024, beginning at 9:00 a.m.

 3.     MOTIONS IN LIMINE

        Motions in Limine must be filed on or before NOVEMBER 22, 2024. Responses

 must be filed within seven (7) days thereafter. Motions submitted after the deadline may

 be denied solely on that ground. Briefs in Support of such motions and responses shall

 not exceed three (3) pages per ruling sought, except on leave of Court for good cause

 shown.

 4.     MEMORANDUM BRIEFS

        Page limits for discovery motions and liminal motions are noted above.

 Memorandum briefs filed in support or in response to other types of motions must not

 exceed twenty-five (25) pages in length, without leave of court and for good cause shown.

 Over-length briefs filed without advance leave may be stricken sua sponte. Reply briefs




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 require leave of Court, except with respect to motions for summary judgment. Reply briefs

 must not exceed seven (7) pages in length.

 5.     PRETRIAL DISCLOSURE SHEET

        Pursuant to the provisions of Rule 26(a)(3), the parties shall simultaneously file

 Pretrial Disclosures on NOVEMBER 8, 2024, in a form consistent with the outline

 contained in Local Rule 26.2.

 6.     DEPOSITIONS TO BE USED AT TRIAL PURSUANT TO RULE 321

        The proffering party must designate the pertinent portions of a deposition to be used

 as evidence at trial by NOVEMBER 8, 2024. The opposing party must then provide notice

 of objections and/or counter-designations by NOVEMBER 15, 2024. These designations

 and objections should not be filed with the Court, but rather exchanged by the parties. The

 parties shall then confer in good faith to resolve any objections to designations.

        Any unresolved objections shall be made by a joint written motion filed no later than

 NOVEMBER 22, 2024. Instructions for preparing the joint motion and the form to be used

 are posted on the Court’s website at http://www.arwd.uscourts.gov/judge-brooks-forms.

 Objections will be resolved during the Final Pre-Trial Conference.

 7.     PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW

        The parties must confer in advance regarding proposed Findings of Fact and

 Conclusions of Law in an attempt to narrow areas of disagreement. The parties shall

 jointly file agreed findings of fact, and, for each cause of action, the agreed legal




        1
        Depositions to be used solely for impeachment are not contemplated by the
 requirements of this paragraph.

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 elements/basis, clearly marked “STIPULATED FACTS AND AGREED BASIS OF

 APPLICABLE LAW,” on or before DECEMBER 2, 2024. With regard to disputed facts

 and/or applicable law, the parties shall simultaneously file trial briefs which identify all

 pertinent facts in dispute and explain the nature and basis of any disputed legal issues,

 and/or disputed application of law to agreed and/or disputed facts. Trial briefs must be

 filed by no later than DECEMBER 9, 2024.

 8.     WITNESS AND EXHIBIT LISTS

        Each party shall submit “final” witness and exhibit lists to the Court by no later than

 NOVEMBER 29, 2024. The lists should be in the format as posted on the Court’s website

 at http://www.arwd.uscourts.gov/judge-brooks-forms. Witnesses shall be grouped together

 under headings indicating whether they “will be called” or merely “may be called” to testify.

        Trial Exhibits must be identified, numbered, provided, and made available to

 opposing counsel in advance of the deadline. Counsel must then review and confer for the

 purpose of identifying any exhibits to which agreement or objections are contemplated.

 The final numbered exhibit list provided to the Court should therefore indicate—for each

 applicable exhibit—whether opposing counsel intends to “agree” (subject to proponent

 laying proper foundation) or “object” to its introduction. Prior to trial, the parties shall further

 confer and identify which, if any, of the agreed exhibits may be stipulated into evidence in

 mass at the beginning of the trial. Please promptly notify the Court via email as to which

 exhibits will be received in this manner.

        Each party shall provide a notebook of its final proposed exhibits(numbered,

 indexed, and tabbed) to Chambers by no later than DECEMBER 6, 2024.



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 9.     DEADLINES

        The deadlines set forth above are firm. Extensions and/or continuances will not be

 considered absent very compelling circumstances.

 10.    SUMMARY TABLE AND FORMS

        A table summarizing the deadlines is attached. In the event of a discrepancy

 between this Order and the summary table, the deadline set forth in the Order is

 controlling.   The forms are available for download on the Court’s public website -

 http://www.arwd.uscourts.gov/judge-brooks-forms.

 11.    COMMUNICATION WITH COURT REGARDING TRIAL OR SETTLEMENT

        Settlements should be immediately reported to the Court.2 Please communicate any

 late developing settlement or problems/issues (i.e. over the weekend prior to trial) to the

 Courtroom Deputy, Sheri Craig, at (479) 695-4460 or tlbinfo@arwd.uscourts.gov. In the

 event of settlement, advise Ms. Craig immediately. The parties are further advised that the

 case will not be removed from the trial docket until an order of dismissal has been entered.

        IT IS SO ORDERED this 25th day of September, 2024.



                                           _______________________________________
                                           TIMOTHY L. BROOKS
                                           UNITED STATES DISTRICT JUDGE




        2
         This is especially true when there are ripe motions pending. Prompt notification is
 also of great help to the Court in the management of remaining cases set for a given trial
 term.

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                             DATES AND DEADLINES

                           HEARINGS AND TRIAL DATE
FINAL PRE-TRIAL CONFERENCE                                                       12/6/24
TRIAL DATE (One Week Trial Term beginning on)                                  12/16/24
                           FINAL TRIAL PREPARATIONS
PRETRIAL DISCLOSURES (per format of Local Rule 26.2)                             11/8/24
MOTIONS IN LIMINE                                                              11/22/24
DEPOSITION DESIGNATIONS (exchanged)                                              11/8/24
DEPOSITION COUNTER-DESIGNATIONS (exchanged)                                    11/15/24
JOINT MOTION TO EXCLUDE DEPOSITION TESTIMONY                                   11/22/24
PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW (submitted                      12/2/24
to the Court via email)
TRIAL BRIEF                                                                      12/9/24
WITNESS AND EXHIBIT LISTS (submitted to the Court via email)                   11/29/24
EXHIBITS NOTEBOOK (INDEXED AND TABBED) TO CHAMBERS                               12/6/24




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